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AK Bar No. 8906027
                     IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA

STEVEN D. MORRISON,              )
                                 )
     Plaintiff,                  )
                                 )
v.                               )                       Civil Action No.
                                 )                       4:15-cv-00014-JWS
                                 )
UNITED STATES OF AMERICA and     )
CHENEGA INTEGRATED SYSTEMS, LLC, )
                                 )
     Defendants.                 )

              FIRST AMENDED FTCA COMPLAINT FOR DAMAGES

      This pleading follows a 08/28/15 stipulation between all counselors of record

substituting defendant “The Chenega Corporation” for “Chenega Integrated Systems,

LLC.” Plaintiff Steven D. Morrison (“Morrison”), through his attorneys, Merdes Law

Office, P.C. alleges against the United States of America (US) and Chenega Integrated

Systems, LLC (“Chenega”) as follows:

                             PARTIES AND JURISDICTION

      1.       Morrison is a resident of Alaska and all facts of consequence to his injuries

occurred in and about Fairbanks, Alaska;




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       2.       Chenega Integrated Systems, LLC is an Alaskan corporation, Chenega and

its subsidiaries and/or parent corporation(s), purposefully avail themselves of Alaskan

commerce, and is subject to this Court’s personal and subject matter jurisdiction;

       3.       This Court has Jurisdiction pursuant to 28 U.S.C. § 1346(b). The US

Government accepts this Court’s personal and subject matter jurisdiction pursuant to the

1948 Federal Tort Claims Act, 28 U.S.C. § 2671 et seq.;

       4.       Venue is proper pursuant to 28 U.S.C. § 1391 et seq.;

       5.       Plaintiff timely filed a Form 95 with the US Government. [Ex. 1: 01/17/14

Form 95]. On 02/26/15, the US Government denied this claim. [Ex. 2: 02/26/15 Bradford

Hunt Letter]. This matter is thus ripe for adjudication by this Court pursuant to 28 U.S.C.

§ 2675(a);

       6.       All conditions incident to Morrison’s right to bring and maintain this action

have occurred or been waived by the party to whom the benefit of such condition flows;

                         FACTS PLEAD WITH PARTICULARITY

       7.       On or about 01/20/12, Morrison was a commercial delivery driver for

Pacific Alaska Freightways, Inc., attempting a commercial delivery to Eielson Air Force

Base (Eielson), near Fairbanks, Alaska;

       8.       Morrison drove his load from Fairbanks to Eielson and at the direction of

Eielson Military Police (MP)/security Morrison parked his vehicle at Eielson’s front gate,

in the designated inspection tent area;




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       9.       Morrison exited his vehicle and handed his paperwork to the MP, as

instructed;

       10.      While directly returning to his vehicle as instructed, Morrison fell upon an

unreasonably icy and unmaintained walking surface, injuring (and aggravating prior

injuries to) his right knee;

       11.      On or about 01/20/12 immediately before his fall, Morrison had reasonably

parked his delivery vehicle precisely where he was supposed to park it according to one

or both Defendant’s instruction;

       12.      At all times up to and including the moment of his 01/20/12 fall, Morrison

was walking precisely where he was instructed to walk;

       13.      At all times up to and including the moment of his 01/20/12 fall, Morrison

was walking precisely where he was expected to walk;

       14.      At all times up to and including the moment of his 01/20/12 fall, Morrison

was walking in the only area he could walk;

       15.      At all times up to and including the moment of his 01/20/12 fall, Morrison

was following all rules, regulations, and instructions related to his actions at the

inspection tent near Eielson’s front gate;

       16.      On 02/26/15, the US alleged Chenega was an independent contractor. The

US alleges Chenega was “primarily responsible for ensuring the safety of the personnel

in the inspection tent on 20 January, 2012.” [Ex. 2];




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       17.    After the 01/20/12 fall, Morrison has undergone three (3) related knee

surgeries, resulting in medical bills of $227K+. [Ex. 3: ER 1006 Medical Billing

Summary with billing records];

       18.    Ex. 3 is accurate and admissible;

       19.    On 11/12/14, board certified orthopedic surgeon Richard Cobden, MD

opined Morrison now suffers a 6% whole person impairment rating and will require a full

right knee replacement [Ex. 4: 11/12/14 Dr. Cobden Report] costing more than

$72,462.00 [Ex. 5: Banner Health - Total Knee Replacement Cost Estimate] not

including physical therapy or other related treatment:




                                                                                    Ex. 4;

       20.    All medical treatment records provided to the US in support of Morrison’s

01/17/14 Form 95 are Authentic and subject to one or more Hearsay exception(s);

       21.    All medical treatment records in addition to those provided to the US in

support of Morrison’s 01/17/14 Form 95 are Authentic and subject to one or more

Hearsay exception(s);

       22.    All medical billing records provided to the US in support of Morrison’s

01/17/14 Form 95 are Authentic and subject to one or more Hearsay exception(s);



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       23.      All medical billing records in addition to those provided to the US in

support of Morrison’s 01/17/14 Form 95 are Authentic and subject to one or more

Hearsay exception(s);

       24.      Treatment provided to Steven D. Morrison by health care providers has at

all times been within the standard of care for injuries complained of after this 01/20/12

incident;

       25.      Treatment provided to Steven D. Morrison by health care providers has at

all times been reasonable for injuries complained of after this 01/20/12 incident;

       26.      Treatment provided to Steven D. Morrison by health care providers has at

all times been necessary for injuries complained of after this 01/20/12 incident;

       27.      No person or entity not presently identified in the caption of this matter is

responsible for any damages sought by Morrison under AS 09.17.080 or otherwise;

                                    CAUSES OF ACTION

       28.      [Negligence] On or about 01/20/12, the US Government and/or Chenega

negligently designed, constructed and/or maintained the Eielson front gate walk areas

about which persons such as Morrison were expected to walk, being a substantial factor

in Morrison’s losses and necessitating imposition of judgment for related damages;

       29.      [Negligence Per Se] On or about 01/20/12 the US Government and/or

Chenega violated rules, regulations, codes and/or statutes designed to protect persons

such as Morrison from the type of harm he suffered herein and there is no excuse for such

violations;


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       30.    [Land Owner Liability] Upon information and belief, on or about 01/20/12

the US Government owned the property upon which the injuries giving rise to Morrison’s

claims occurred. The US Government’s acts or omissions were a substantial factor in

causing Morrison’s damages by failing to maintain the subject property in a reasonably

safe condition in view of all the circumstances, including the likelihood of injury to

others, the seriousness of the risks, and the level of burden to avoid such risks;

                                        DAMAGES

       31.    Morrison’s knee injury has resulted in AS 09.17.010 past and future

permanent impairment, including without limit economic and non-economic losses

embracing pain, suffering, inconvenience, physical impairment, disfigurement, loss of

enjoyment of life, loss of consortium, and other non-pecuniary damage;

       32.    [AS 09.17.010(c)] As a direct and proximate result of the conduct

complained of herein, Morrison suffered “severe permanent physical impairment or

severe disfigurement” within the meaning of AS 09.17.010(c);

       33.    As a direct and proximate result of the conduct complained of herein,

existing conditions were aggravated. The burden of proof for such aggravation should be

carried by the US and/or Chenega pursuant to LaMoureaux v. Totem Ocean Trailer Exp.,

Inc., 632 P.2d 539 (Alaska 1981); and Tolan v. ERA Helicopters, Inc., 699 P. 2d 1265

(Alaska 1985);

       34.    Morrison has to the extent required by law mitigated his damages;




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        WHEREFORE Morrison prays for judgment against the US Government and/or

Chenega for his general and special damages, including without limit, past and future: (1)

medical bills; (2) lost wages; and (3) pain, suffering, inconvenience and disability, along

with such cost and fees as the Court deems just.

        DATED this 31st day of August, 2015.

                                                   MERDES LAW OFFICE, P.C.
                                                   Attorney For Steven Morrison, Plaintiff

                                                   /s/
                                             By:   Ward Merdes, ABN 8906027



On 08/31/15 copy of the forgoing
was served via the Court’s ECRF system on:

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Anchorage, AK 99501

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Federal Building & U.S. Courthouse
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/s/
Ward Merdes, ABN 8906027




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